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     UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY
                          Caption in Compliance with D.N.J. LBR 9004-1(b)
    MAUNE          RAICHLE         HARTLEY        COONEY & CONWAY
    FRENCH & MUDD, LLC                            Kathy Byrne, Esq.
    Clayton L. Thompson, Esq.                     kbyrne@cooneyconway.com
    cthompson@mrhfmlaw.com                        120 N. LaSalle Street, Suite 3000
    Suzanne M. Ratcliffe, Esq.                    Chicago, Illinois 60602
    sratcliffe@mrhfmlaw.com                       Tel: (312) 236-6166
    150 West 30th Street, Suite 201               Attorneys for Mesothelioma Claimant Giovanni
    New York, New York 10001                      Sosa
    Tel: (800) 358-5922                           *Admitted Pro Hac Vice
    Attorneys for Mesothelioma Claimants
    Katherine Tollefson, Sandra Weathers,
    Mary Jackson, Elizabeth Meikle, Marzena
    Zachara, Robert Radin, and Christine
    Woodfin

    LEX NOVA LAW, LLC                             DEAN OMAR BRANHAM SHIRLEY, LLP
    E. Richard Dressel, Esq.                      J. Bradley Smith, Esq.
    rdressel@lexnovalaw.com                       Bsmith@dobslegal.com
    10 E. Stow Road, Suite 250                    302 N. Market Road
    Marlton, New Jersey 08053                     Suite 300
    Tel: (856) 382-8211                           Dallas, Texas 75202
    Attorneys for Mesothelioma Claimants          Tel: (214) 722-5990
    Evan Plotkin and Giovanni Sosa                Attorneys for Mesothelioma Claimant Evan
                                                  Plotkin
                                                  *Admitted Pro Hac Vice




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY

      In re:                                            )
                                                        )   Case No. 23-ap-1092-MBK
               LTL MANAGEMENT LLC,                      )
                                                        )   Lead BK Case: 23-12825-MBK
               Debtor.                                  )

         AD HOC GROUP OF MESOTHELIOMA CLAIMANTS’ MOTION FOR ORDER
      CERTIFYING DIRECT APPEAL OF PRELIMINARY INJUNCTION ORDER OF APRIL
      20, 2023 TO THE UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

               The Ad Hoc Group Mesothelioma Claimants1 through undersigned counsel

  respectfully moves under 28 USC § 158(d)(2)(B) and Bankruptcy Rule 8006 for

  certification of direct appeal to the U.S. Court of Appeals for the Third Circuit the Order

  of April 20, 2023, granting in part the Debtor’s motion for a preliminary injunction (“PI

  Order”), as amended, through and including June 15, 2023. In support of this Motion, the

  Ad Hoc Group adopts all the arguments advanced in the Request of the Official

  Committee of Talc Claimants (Adv. Pro. Dkt. 84 (Notice) 84-1 (Request), 84-2 (Proposed

  Order) 85 (Motion to Shorten Time)).

  Respectfully submitted:



  1The Ad Hoc Group is composed of claimants Katherine Tollefson, Evan Plotkin and Giovanni Sosa (all
  appellants to the Third Circuit in LTL1), joined in this Request by Sandra Weathers, Mary Jackson, Elizabeth
  Meikle, Marzena Zachara, Robert Radin, Christine Woodfin, and Paul Crouch (Individually and as
  Executor Ad Prosequendum of the Estate of Cynthia Lorraine Crouch) all mesothelioma claimants. See Adv.
  Pro. Case No. 23-01092-MBK Dkt. 60 (MRHFM Obj. Prelim. Inj.), Dkt. 57 (Paul Crouch Obj.), Dkt. 58 (Evan
  Plotkin Joinder to Obj.), and Mesothelioma Claimants’ Joinder to Objection of TCC (Case No. 23-12825-
  MBK, Dkt. 214).
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  MAUNE RAICHLE HARTLEY
  FRENCH & MUDD, LLC

  /s/ Clayton L. Thompson
  _________________________
  Clayton L. Thompson, Esq.
  cthompson@mrhfmlaw.com
  MAUNE RAICHLE HARTLEY
  FRENCH & MUDD, LLC
  150 W. 30th Street, Suite 201
  New York, NY 10001
  (800) 358-5922
  Attorneys for Mesothelioma Claimants
  Katherine Tollefson, Sandra Weathers,
  Mary Jackson, Elizabeth Meikle, Marzena Zachara,
  Robert Radin, and Christine Woodfin

  COONEY & CONWAY

  /s/ Kathy Byrne
  _____________________
  Kathy Byrne, Esq.
  kbyrne@cooneyconway.com
  120 N. LaSalle Street, Suite 3000
  Chicago, Illinois 60602
  Tel: (312) 236-6166
  Attorneys for Mesothelioma Claimant Giovanni Sosa
  *Admitted Pro Hac Vice

  DEAN OMAR BRANHAM SHIRLEY, LLP

  /s/ J. Bradley Smith
  ____________________
  J. Bradley Smith, Esq.
  Bsmith@dobslegal.com
  302 N. Market Road
  Suite 300
  Dallas, Texas 75202
  Tel: (214) 722-5990

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  Attorneys for Mesothelioma Claimant Evan Plotkin
  *Admitted Pro Hac Vice



  LEX NOVA LAW, LLC

  /s/ E. Richard Dressel
  ______________________
  E. Richard Dressel, Esq.
  rdressel@lexnovalaw.com
  10 E. Stow Road, Suite 250
  Marlton, New Jersey 08053
  Tel: (856) 382-8211
  Attorneys for Mesothelioma Claimants Evan Plotkin and Giovanni Sosa




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